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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
__________________________________

UNITED STATES OF AMERICA,

              Plaintiff,

              v.                                               08-CR-186A

ANTOINE CALLAHAN a/k/a “Twan,”

          Defendant.
__________________________________


                                DECISION AND ORDER

              This case was referred to the Hon. Hugh B. Scott by the Hon. Richard J.

Arcara, in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and

report upon dispositive motions. Dkt. #8. Thereafter, Magistrate Judge Scott issued an

Order of Recusal in the case as to defendant Antoine Callahan only (see Minute Entry

dated February 11, 2009) and the case with respect to Antoine Callahan was referred

to the undersigned, in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and

to hear and report upon dispositive motions.



              The defendant, Antoine Callahan, is charged in four counts of a 38 count

Second Superseding Indictment with violations of Title 21, United States Code,

Sections 846 (conspiracy with intent to distribute and distribution of cocaine), and Title

21, United States Code, Section 843(b) (use of a communication facility to commit drug

felony). Dkt. #849.
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             Presently pending before this Court is defendant’s motion for:

             1.     Severance;

             2.     Discovery and Inspection;

             3.     Bill of Particulars;

             4.     Joinder on all pre-trial motions of co-defendants;

             5.     Impeachment Information;

             6.     Brady Material;

             7.     Expert Disclosure;

             8.     Jencks Act Material;

             9.     Identity of Informants; and

             10.    Leave to File Other Motions.

Dkt. #930.


             The government has filed its response to the foregoing motions, as well

as a motion for reciprocal discovery. Dkt. #939.



Severance

             The defendant seeks severance of the charges against him from those of

his co-defendants on the ground that evidence against his co-defendants may prejudice

the jury with respect to defendant’s case. Dkt. #930, pp.4-5. The government

responds that defendant has failed to demonstrate substantial prejudice resulting from

a joint trial of all counts in the Second Superseding Indictment. Dkt. #939, pp.17-23. A




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Decision and Order on defendant Antoine Callahan’s motion to sever is left to the

discretion of the District Judge to whom this case is assigned, District Judge Richard J.

Arcara.



Discovery and Inspection

              The defendant seeks more than 20 categories of evidence from the

government in discovery, some of which are duplicative of requests made with respect

to the original Indictment (Dkt. #1) and the Superseding Indictment (Dkt. #190), as well

as requests made later in defendant’s motion papers, and which will be addressed

subsequently. Dkt. #930, pp.5-8. The government responds that it has provided “very

liberal pretrial discovery,” and “on the basis of the voluminous discovery already

provided, further disclosure is not warranted.” Dkt. #939, pp.5-8. Moreover, the

government notes, “[i]n prior correspondence and its prior filings, the government has

listed numerous items of evidence already disclosed and made available to all of the

defendants.” Dkt. #939, p.5.



              The Court takes this opportunity to set forth a brief procedural overview of

the case against Antoine Callahan to illustrate that discovery has been ongoing for five

years. Antoine Callahan was initially charged in a Sealed Indictment returned on July

24, 2008. Dkt. #1. On May 21, 2009, a Federal Grand Jury returned a Superseding

Indictment charging Antoine Callahan, among others, in five counts of a 109 count

Superseding Indictment with violations of Title 21, United States Code, Sections 846

(conspiracy with intent to distribute and distribution of cocaine), and Title 21, United

States Code, Section 843(b) (use of a communication facility to commit drug felony).

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Dkt. #190. Thereafter, defendant Callahan filed omnibus discovery motions directed to

the Superseding Indictment. Dkt. #315. After engaging in plea negotiations and a

failed attempt at entering a plea in late 2010, this Court issued is Decision and Order

with respect to the pending omnibus discovery motions. Dkt. #507. In the meantime,

Magistrate Judge Scott continued to handle the dispositive and non-dispositive motions

filed by Callahan’s co-defendants. Jury selection was scheduled to begin on November

7, 2012. Thereafter, the trial was re-scheduled to February 26, 2013. A Second

Superseding Indictment was returned on January 18, 2013. Dkt. #849. On May 29,

2013, defendant Callahan filed the instant omnibus discovery motions directed to the

Second Superseding Indictment. Dkt. #930.



              Based on the foregoing and the representations by counsel for the

government concerning the volume of discovery provided and enumerated in prior

filings, the defendant’s request for discovery is denied as moot.



Bill of Particulars

              As in its prior omnibus discovery motion directed to the Superseding

Indictment, the defendant again seeks particularization as to each count in the Second

Superseding Indictment. Dkt. #930, p.8. The government responds that the defendant

has not met his burden to establish that a bill of particulars is warranted. Dkt. #939,

pp.4-8.




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               The defendant’s request for a bill of particulars is denied. It has become

axiomatic that the function of a bill of particulars is to apprise a defendant of the

essential facts of the crime for which he has been charged. United States v. Salazar,

485 F.2d 1272, 1277-78 (2d Cir. 1973); cert. denied, 415 U.S. 985 (1974); Wong Tai v.

United States, 273 U.S. 77 (1927). The charges in the Indictment, along with the

discovery materials provided by the government, clearly inform the defendant of the

essential facts of the crimes charged. As a result, the defendant is not entitled to, nor is

he in need of, the “particulars” being sought for that purpose.

               A bill of particulars should be required only where the
               charges of the indictment are so general that they do not
               advise the defendant of the specific acts of which he is
               accused.” United States v. Fella, 651 F. Supp. 1068, 1132
               (S.D.N.Y. 1987), aff’d, 875 F.2d 857 (2d Cir.) (mem.), cert.
               denied, 493 U.S. 834, 110 S.Ct. 110, 107 L.Ed.2d 72
               (1989); see also United States v. Leonelli, 428 F. Supp. 880,
               882 (S.D.N.Y. 1977). “Whether to grant a bill of particulars
               rests within the sound discretion of the district court.” United
               States v. Panza, 750 F.2d 1141, 1148 (2d Cir. 1984) (citing
               United States v. Burgin, 621 F.2d 1352, 1358-59 (5th Cir.),
               cert. denied, 449 U.S. 1015, 101 S.Ct. 574, 66 L.Ed.2d 474
               (1980)); see also [United States v.] Bortnovsky, 820 F.2d
               [572] at 574 [(2d Cir. 1987)]. “Acquisition of evidentiary
               detail is not the function of the bill of particulars.” Hemphill
               v. United States, 392 F.2d 45, 49 (8th Cir.), cert. denied, 393
               U.S. 877, 89 S.Ct. 176, 21 L.Ed.2d 149 (1968).

United States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990); see also United States v.

Chen, 378 F.3d 151, 163 (2d Cir.), cert. denied, 543 U.S. 994 (2004); United States v.

Porter, No. 06-1957, 2007 WL 4103679 (2d Cir. Nov. 19, 2007), cert. denied, 128 S.Ct.

1690 (2008).




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Joinder in Co-Defendants’ Motions

             The defendant seeks to join in all applicable pre-trial motions that may

have been or will be filed by his co-defendants. Dkt. #930, p.8. In addition, on the date

scheduled for oral argument on the instant motions, the defendant submitted on the

papers and specifically sought to join in co-defendants’ motions for a conspiracy

hearing and particularization of the telephone counts.



             Defendant’s request to join is granted with the further directive and finding

that the decision made by Magistrate Judge Scott as to each co-defendant’s requests

contained in the motions in which this defendant joins shall also be deemed to be the

finding and order as to the defendant herein.



Impeachment

             The defendant seeks any information which could be utilized for the

impeachment of prosecution witnesses. Dkt. #930, pp.8-9. In its response to

defendant’s request for Brady and Giglio material, the government acknowledges its

affirmative and continuing duty to provide the defendant with evidence that the defense

might use to impeach the government’s witnesses at trial. Dkt. #939, p.14. Moreover,

the government notes that typical impeachment material, such as beneficial treatment

by the government, is normally disclosed at the time that 3500 (Jencks Act) material is

disclosed. Defendant Callahan’s specific requests for Brady and Jencks Act material

will be addressed below.




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Disclosure of Brady and Giglio Materials

              The defendant seeks disclosure pursuant to Brady v. Maryland, 373 U.S.

83 (1963). Dkt. #930, p.9. The government acknowledges its affirmative continuing

duty to provide the defendant with exculpatory evidence, as well as evidence that the

defense might use to impeach the government’s witnesses at trial, but otherwise

opposes defendant’s request as beyond the scope of its obligations. Dkt. #939, pp.14-

16.



              The government is hereby directed to comply with the Second Circuit

Court of Appeals’ holding in United States v. Coppa, 267 F.3d 132, 146 (2d Cir. 2001),

and United States v. Rodriguez, 496 F.3d 221 (2d Cir. 2007), by making timely

disclosure of Brady and Giglio materials to the defendant.



Expert Witness Disclosure

              The defendant seeks disclosure of expert witness information pursuant to

Rule 16 (a)(1)(e). Dkt. #930, p.10. Although the government does not respond to this

specific request by defendant Callahan as it relates to the Second Superseding

Indictment, in its prior response, the government indicated that it would identify its

expert witnesses and provide written summaries of the expert’s testimony and basis for

their opinions pursuant to Rules 702, 703 and 705 of the Federal Rules of Evidence in

accordance with the trial judge’s scheduling order. Dkt. #333, p.21. In reliance upon

the government’s prior representations, defendant’s request is denied as moot.




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Jencks Act Material

              The defendant seeks immediate disclosure of any written statement,

transcript or recording of oral statements, grand jury statements, notes, and

surveillance reports made by or regarding any witness. Dkt. #930, pp.10-11.



              The government responds that it will comply with the pretrial order of the

trial judge regarding timely disclosure of witness statements encompassed by 18 U.S.C.

§3500, with reservation of its right to argue that legitimate safety concerns outweigh the

need for pretrial disclosure. Dkt. #939, p.16.



              The defendant’s motion is denied to the extent that it exceeds the scope

of 18 U.S.C. § 3500. With respect to those statements encompassed by this statute,

the prosecution is not required to disclose and turn over Jencks statements until after

the witness has completed his direct testimony. See 18 U.S.C. § 3500; Rule 26.2

Fed.R.Crim.P.; In Re United States, 834 F.2d 283 (2d Cir. 1987). However, if the

government has adopted a policy of turning such materials over to the defendant prior

to trial, the government shall comply with that policy; or in the alternative, produce such

materials in accordance with the scheduling order issued by the trial judge.



Identity of Informants

              The defendant seeks disclosure of the identity of government informants

on the ground that discovery provided by the government suggests that these



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individuals were probably participants in the criminal acts set forth in the indictment.

Dkt. #930, p.11. Moreover, defendant Callahan adds that, “[i]n order to adequately

prepare Defendant Antoine Callahan’s defense it is absolutely necessary that the

Prosecutor [sic] reveal the identity of the Informants [sic] so that the defense can

properly investigate each individual and the benefits they may have received from the

government in cooperation.” Id.



              The government did not specifically respond to this request as it relates to

the Second Superseding Indictment. The government did respond that such disclosure

was unwarranted as it related to the Superseding Indictment. Dkt. #333, p.20-21.



              Disclosure of the identity or address of a confidential informant is not

required unless the informant’s testimony is shown to be material to the defense.

United States v. Saa, 859 F.2d 1067, 1073 (2d Cir.), cert. denied, 489 U.S. 1089

(1988); see Roviaro v. United States, 353 U.S. 53, 59 (1957) (government generally is

not required to disclose identity of confidential informants). “Speculation that disclosure

of the informant’s identity will be of assistance is not sufficient to meet the defendant’s

burden; instead the district court must be satisfied, after balancing the competing

interests of the government and the defense, that the defendant’s need for disclosure

outweighs the government’s interest in shielding the informant’s identity.” United States

v. Fields, 113 F.3d 313, 324 (2d Cir.), cert. denied, 522 U.S. 976 (1997). It is not




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sufficient that the informant was a participant and witness to the crime. Saa, 859 F.2d

at 1073.



              The defendant has failed to demonstrate that disclosure of information

regarding government informants is warranted in this matter at this time. Therefore, this

aspect of defendant’s motion is denied.



Leave to File Other Motions

              The defendants seeks leave to make such other motions as may be

appropriate at a later date. Dkt. #930, p.11.



              This request is granted provided that any additional bases for relief are

based on facts or information learned by reason of the continuation of the investigation

or facts and circumstances revealed in the government’s response to the instant motion

or this Court’s Decision and Order.



Government’s Request for Reciprocal Discovery

              In addition to the relief requested by the defendant, the government has

made a request for reciprocal discovery. Dkt. #939, p.25. The government has

requested that the defendant permit it to inspect and copy books, papers, documents,

photographs and tangible objects which the defendant intends to introduce as

evidence-in-chief at the trial. Id. In addition, the government seeks to inspect all



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reports of physical or mental examinations and of scientific tests or experiments, within

the possession or control of the defendant along with written summaries of expert

witness testimony that the defendant intends to use at trial. Id. Pursuant to Rule 807 of

the Federal Rules of Evidence, the government also seeks advance disclosure of any

statement the defendant proposes to utilize at trial. Id.



              Since the defendant has moved pursuant to Rule 16(a)(1) of the Federal

Rules of Criminal Procedure for similar materials and information, the government is

entitled to this information pursuant to Rule 16(b)(1) and its request is granted. The

government’s motion with respect to Rule 807 of the Federal Rules of Evidence is

denied as moot by reason of the requirements contained within Rule 807 of the Federal

Rules of Evidence wherein it is specifically stated:

              However, a statement may not be admitted under this
              exception unless the proponent of it makes known to the
              adverse party sufficiently in advance of the trial or hearing to
              provide the adverse party with a fair opportunity to prepare
              to meet it, the proponent’s intention to offer the statement
              and the particulars of it, including the name and address of
              the declarant.




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              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with the above statute, Fed. R. Crim. P. 58(g)(2) and Local Rule

58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of




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Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:       Buffalo, New York
             September 5, 2013



                                       s/ H. Kenneth Schroeder, Jr.
                                       H. KENNETH SCHROEDER, JR.
                                       United States Magistrate Judge




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